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                                                        5     Attorneys for Defendants LVMPD, Ofc. Torres, Ofc. Shoemaker and Ofc. McCormick

                                                        6                             UNITED STATES DISTRICT COURT

                                                        7                                     DISTRICT OF NEVADA

                                                        8   FLOYD WALLACE,

                                                        9                                Plaintiff,                          Case Number:
                                                                                                                        2:23-cv-00809-APG-NJK
                                                       10          vs.
                                                                                               DEFENDANTS’ LIMITED OPPOSITION
                                                       11   LAS VEGAS METROPOLITAN POLICE      TO PLAINTIFF’S MOTION TO EXTEND
                                                            DEPARTMENT; STATE OF NEVADA;         TIME TO RESPOND (ECF NO. 37)
                                                       12   CHRISTIAN TORRES; JASON SHOEMAKER;
                                                            CORY MCCORMICK and DOES 1 to 50,
                                                       13   inclusive,
MARQUIS AURBACH

                  (702) 382-0711 FAX: (702) 382-5816
                        Las Vegas, Nevada 89145




                                                       14                                Defendants.
                          10001 Park Run Drive




                                                       15
                                                                   Defendants Las Vegas Metropolitan Police Department (“LVMPD”), Ofc. Christopher
                                                       16
                                                            Torres, Ofc. Jason Shoemaker, and Ofc. Cory McCormick (collectively “Defendant Officers”,
                                                       17
                                                            and with LVMPD, “Defendants”), by and through their attorney of record, Craig R. Anderson,
                                                       18
                                                            Esq. of Marquis Aurbach, hereby file their Limited Opposition to Plaintiff’s Motion to Extend
                                                       19
                                                            Time to Respond (ECF No. 37).
                                                       20
                                                                               MEMORANDUM OF POINTS AND AUTHORITIES
                                                       21
                                                            I.     INTRODUCTION
                                                       22
                                                                   Plaintiff Floyd Wallace (“Wallace”) is seeking an extension to respond to the Defendant
                                                       23
                                                            Officers’ Motion to Dismiss (ECF No. 33). The Defendant Officers’ motion was filed on
                                                       24
                                                            September 1, 2023. Wallace is requesting “until December 5, 2023, or longer if the court grants
                                                       25
                                                            it.” (ECF No. 37 at 1:21-22). The Defendants do not oppose a reasonable extension of time for
                                                       26
                                                            Wallace to respond to the Defendant Officers’ motion to dismiss, but do object to the December
                                                       27
                                                            5, 2023 request.
                                                       28
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                                                        1          Wallace is also requesting a second extension to file a reply to Defendants’ Opposition to

                                                        2   Plaintiffs’ Motion for Sanctions. (ECF No. 28). He is requesting an extension until December 5,

                                                        3   2023. Defendant LVMPD has already granted Wallace an extension until September 25, 2023.

                                                        4   Wallace has had ample time to respond to this opposition, and LVMPD opposes any additional

                                                        5   requests.

                                                        6   II.    LEGAL STANDARD

                                                        7          The Federal Rules of Civil Procedure 6(b) states, in pertinent part:

                                                        8          (b) Extending Time.

                                                        9          (1) In General. When an act may or must be done within a specified time, the court may,
                                                                   for good cause, extend the time:
                                                       10
                                                                   (A) with or without motion or notice if the court acts, or if a request is made, before the
                                                       11              original time or its extension expires; or

                                                       12          (B) on motion made after the time has expired if the party failed to act because of
                                                                   excusable neglect.
                                                       13
MARQUIS AURBACH

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                                                            III.   LEGAL ARGUMENT
                        Las Vegas, Nevada 89145




                                                       14
                          10001 Park Run Drive




                                                                   A.      DEFENDANTS DO NOT AGREE TO A LENGTHY EXTENSION FOR
                                                       15                  WALLACE TO OPPOSE THE DEFENDANT OFFICERS’ MOTION TO
                                                                           DISMISS.
                                                       16
                                                                   On September 1, 2023, the Defendant Officers filed a motion to dismiss. (ECF No. 33.)
                                                       17
                                                            Wallace has never requested an extension from the Defendant Officers. The Defendant Officers
                                                       18
                                                            do not oppose a reasonable extension of time for Wallace to respond. However, they do oppose a
                                                       19
                                                            three-month extension. The Defendants are agreeable to extending Wallace’s deadline until
                                                       20
                                                            October 15, 2023. It should not be difficult for Wallace to oppose the Defendant Officers’
                                                       21
                                                            motion. On July 17, 2023, Defendant LVMPD filed its motion to dismiss. (ECF No. 8.) The
                                                       22
                                                            Defendant Officers’ motion’s arguments closely mirror the arguments in LVMPD’s motion. On
                                                       23
                                                            July 26, 2023, Wallace opposed Defendant LVMPD’s motion. (ECF No. 15.) Thus, Wallace has
                                                       24
                                                            shown this Court that he is able to draft and file an opposition. Therefore, Wallace’s current
                                                       25
                                                            request to extend the deadline until December 5, 2023 is unreasonable. More importantly,
                                                       26
                                                            Wallace has failed to articulate any good cause for such a lengthy delay.
                                                       27

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                                                        1          B.     DEFENDANTS OPPOSE WALLACE’S REQUEST FOR AN EXTENSION
                                                                          TO FILE HIS REPLY TO THEIR OPPOSITION TO HIS MOTION FOR
                                                        2                 SANCTIONS.

                                                        3          On August 10, 2023, Wallace filed his Amended Motion for Rule 11 Sanctions on

                                                        4   Defendant LVMPD and Their Counsel; Declaration of Floyd Wallace in Support. (ECF No. 22.)

                                                        5   LVMPD opposed the motion on August 22, 2023. (ECF No. 28.) Wallace immediately filed an

                                                        6   Unopposed Motion to Extend Time to Respond to Motion or in the Alternative for Leave to File

                                                        7   Late Reply; Motion to Extend Page Limit for Reply. (ECF No. 30) Wallace requested an

                                                        8   extension “until September 25, 2023 or longer.” (Id.) Defendant LVMPD did not oppose this

                                                        9   request. Plaintiff’s current request makes no attempt to establish “good cause’ for an additional

                                                       10   extension beyond the requested September 25, 2023 date. The Defendants object to any

                                                       11   extensions past the September 25, 2023 date.

                                                       12   IV.    CONCLUSION

                                                       13          Defendants object to any further extensions for Wallace to file his reply to Defendant
MARQUIS AURBACH

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                        Las Vegas, Nevada 89145




                                                       14   LVMPD’s opposition to his motion for sanctions as he cannot establish good cause. Defendants
                          10001 Park Run Drive




                                                       15   do not oppose a reasonable one-month extension of time for Wallace to respond to the Defendant

                                                       16   Officers’ motion to dismiss, but do oppose an extension until December 5, 2023.

                                                       17          Dated this 7th day of September, 2023.

                                                       18                                                  MARQUIS AURBACH
                                                       19
                                                       20                                                  By      s/Craig R. Anderson
                                                                                                                Craig R. Anderson, Esq.
                                                       21                                                       Nevada Bar No. 6882
                                                                                                                10001 Park Run Drive
                                                       22                                                       Las Vegas, Nevada 89145
                                                                                                                Attorneys for Defendants LVMPD, Ofc. Torres,
                                                       23                                                       Ofc. Shoemaker and Ofc. McCormick
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                                                        1                                     CERTIFICATE OF SERVICE

                                                        2          I hereby certify that I electronically filed the foregoing DEFENDANTS LVMPD, OFC.

                                                        3   TORRES, OFC. SHOEMAKER AND OFC. MCCORMICK’S LIMITED OPPOSITION

                                                        4   TO PLAINTIFF’S MOTION TO EXTEND TIME TO RESPOND (ECF NO. 37) with the

                                                        5   Clerk of the Court for the United States District Court by using the court’s CM/ECF system on

                                                        6   the 7th day of September, 2023.

                                                        7                 I further certify that all participants in the case are registered CM/ECF users and

                                                        8   that service will be accomplished by the CM/ECF system.

                                                        9                 I further certify that some of the participants in the case are not registered

                                                       10   CM/ECF users. I have mailed the foregoing document by First-Class Mail, postage prepaid, or

                                                       11   have dispatched it to a third-party commercial carrier for delivery within 3 calendar days to the

                                                       12   following non-CM/ECF participants:

                                                       13                                             Floyd Wallace
MARQUIS AURBACH

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                                                                                                   1613 Leopard Lane
                        Las Vegas, Nevada 89145




                                                       14                                       College Station, TX 77840
                          10001 Park Run Drive




                                                                                                         Pro Per
                                                       15

                                                       16
                                                                                                         s/Sherri Mong
                                                       17                                                an employee of Marquis Aurbach

                                                       18

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